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                          UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF FLORIDA
                                 TAMPA DIVISION

KIMBERLY MARIE COLLELO, as
personal representative of the Estate
of Frank Collelo,

        Plaintiff,

v.                                                      Case No: 8:16-cv-225-T-35TBM

M&T BANK CORPORATION, BANK OF
AMERICA NA, CALIBER HOME LOANS,
INC., and LAKEVIEW LOAN
SERVICING LLC,

        Defendants.
                                          /

                      ORDER OF DISMISSAL WITH PREJUDICE

        Upon consideration of the parties’ Joint Stipulations of Dismissal with Prejudice,

(Dkt. 72, 73, 74) and pursuant to Fed. R. Civ. P. 41, it is hereby ORDERED that this case

is DISMISSED WITH PREJUDICE as to all remaining Counts asserted against all

remaining Defendants. Each party shall bear its own attorneys’ fees and costs associated

with this matter. The Clerk is directed to terminate any pending motions and CLOSE this

case.

        DONE and ORDERED at Tampa, Florida this 10th day of January, 2017.



Copies furnished to:
Counsel of Record
Any Unrepresented Party
